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  EXHIBIT D
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
RYAN QUARLES,                                        :
                              Plaintiff,             :
                                                     :              Civil Action
                      v.                             :              No. 21-2813
                                                     :
COMMISSIONER DANIELLE OUTLAW,                        :
et al.,                                              :
                   Defendants.                       :
                                                     :

                DEFENDANT COMMISSIONER DANIELLE OUTLAW’S
                  RESPONSES AND OBJECTIONS TO PLAINTIFF’S
                   FIRST SET OF REQUESTS FOR ADMISSIONS

   Defendant, Philadelphia Police Commissioner Danielle Outlaw, by and through her attorney,

Shannon Zabel, hereby serves these responses to Plaintiff’s first set of Requests for Admissions

pursuant to the Federal Rules of Civil Procedure. By serving these responses, Defendant does not

waive any objection she may have to the admissibility of any materials or answers produced in

response to these requests.

                                  GENERAL OBJECTIONS

   1. Defendant objects to the Requests to the extent that they seek information that is protected

       from disclosure by the attorney-client privilege, the attorney work-product doctrine, or any

       other recognized privilege.

   2. Defendant objects to the Requests to the extent that they seek legal conclusions/or would

       require Defendant to reach a legal conclusion in order to prepare a response.

   3. Defendant objects to the Requests to the extent they are argumentative, prejudicial,

       improper, incorrect, vague, and/or ambiguous.



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   4. Defendant objects to the Requests to the extent that they assume as true facts that have not

        been admitted or otherwise established.


                                 RESERVATION OF RIGHTS

        All responses to the following admissions are made without in any way waiving but, on

the contrary, intending to reserve and reserving:

   1.      All questions as to the competency, relevancy, materiality, privilege and admissibility

           for any purpose in any subsequent proceeding or the trial or arbitration of this or any

           other action;

   2.      The right to object on any grounds to the use of any of these documents, or the subject

           matter thereof, in any subsequent proceeding or the trial or arbitration of this or any

           other action;

   3.      The right to object on any grounds at any time to a demand for further responses to

           these or any other document request or other discovery proceedings involving or

           relating to the subject matter of the document requests herein answered; and

   4.      The right at any time to revise, correct, supplement, clarify and/or amend the responses

           and objections set forth herein.


           RESPONSES AND OBJECTIONS TO REQUESTS FOR ADMISSION


        1. In February 2020, Philadelphia Police Department (“PPD”) did not provide train its
           officers on how to verify gun permits issued from the State of Georgia pursuant to that
           State’s gun laws.

            RESPONSE: Objection, the request for admission is vague and confusing with

           regards to the phrase “did not provide train its officers.” Subject to, and without

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   waiving said objection, denied as stated. The PPD trained its officers how to verify a

   gun permit pursuant to Directive 5.27, though not on the particular laws of the state of

   Georgia.


2. You currently do not provide PPD’s officers with training on how to verify gun permits
   pursuant to Georgia’s gun laws.

   RESPONSE: Objection, the request for admission seeks information that is not

   relevant to the claims or defenses in this case. Subject to, and without waiving said

   objection, denied as stated. The PPD trains its officers how to verify a gun permit

   pursuant to Directive 5.27, though not on the particular laws of the state of Georgia.



3. You are aware that Pennsylvania and Georgia have a gun permit reciprocity agreement.

   RESPONSE: Objection, the request for admission is vague and confusing in its use of

   the terms “you” and “aware” which are not defined. Official capacities suits are simply

   another way of pleading an action against an entity of which an officer is an agent.

   Kentucky v. Graham, 473 U.S. 159, 165 (1985). Thus, an official capacity suit should

   be treated as a suit against the government entity itself. Id. at 166. The City is not a

   person and thus cannot be “aware.” Subject to, and without waiving said objection,

   admitted that a reciprocity agreement exists between the State of Georgia and the

   Commonwealth of Pennsylvania regarding reciprocal concealed firearm carry license

   privileges for residents of both states.




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      4. You are aware that PPD’s officers will likely arrest a person who is concealed carrying
         a firearm on a public street if the officers are not able to verify whether the person
         carrying the firearm has a valid license to carry.

          RESPONSE: Objection, the request for admission is vague and confusing in its use of

          the terms “you” and “aware” which are not defined. Official capacities suits are simply

          another way of pleading an action against an entity of which an officer is an agent.

          Kentucky v. Graham, 473 U.S. 159, 165 (1985). Thus, an official capacity suit should

          be treated as a suit against the government entity itself. Id. at 166. The City is not a

          person and thus cannot be “aware.” Furthermore, the request for admission is vague

          and ambiguous with regards to the term “likely” and seeks an admission for all officers

          and the likelihood of their actions, which the City cannot attest to. Finally, the request

          for admission asks for a conclusion about an ultimate issue in this matter. Subject to,

          and without waiving said objection, denied as stated.


      5. It is reasonable expect PPD officers to be mistaken and to make wrong decisions when
         dealing in areas of the law in which they have not received any training or instructions.

          RESPONSE: Objection, the request for admission is vague and ambiguous in its use

          of the terms “reasonable,” “mistaken,” “wrong decisions,” and “instructions” which are

          not defined. Furthermore, the request for admission asks for a conclusion about an

          ultimate issue in this matter. Subject to, and without waiving said objection, denied as

          stated.



Date: January 6, 2022                                /s/ Shannon Zabel
                                                     Shannon Zabel
                                                     Deputy City Solicitor
                                                     Pa. Attorney ID No. 321222
                                                     City of Philadelphia Law Department
                                                     1515 Arch Street, 14th Floor
                                                4
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
RYAN QUARLES,                                        :
                              Plaintiff,             :
                                                     :               Civil Action
                       v.                            :               No. 21-2813
                                                     :
COMMISSIONER DANIELLE OUTLAW,                        :
et al.,                                              :
                   Defendants.                       :
                                                     :

                                CERTIFICATE OF SERVICE

        I, Shannon Zabel, Esquire, Attorney for the Defendants in the above-captioned matter,
certify that a true and correct copy of the Defendant Commissioner Danielle Outlaw’s Responses
to Plaintiff’s First Set of Requests for Admissions was served on this date via email to Plaintiff’s
attorney.




Date: January 6, 2022                                /s/ Shannon Zabel
                                                     Shannon Zabel
                                                     Deputy City Solicitor
                                                     Pa. Attorney ID No. 321222
                                                     City of Philadelphia Law Department
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